           Case 2:12-cr-00124-MCE Document 44 Filed 12/27/12 Page 1 of 4


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JEAN M. HOBLER
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )   2:12-CR-00124 MCE
                                          )
12             Plaintiff,                 )   FINAL ORDER OF FORFEITURE
                                          )
13        v.                              )
                                          )
14   KENI RENTA, and                      )
     JAUWON WILDER,                       )
15                                        )
               Defendants.                )
16                                        )
17        WHEREAS, on June 13, 2012, this Court entered a Preliminary
18   Order of Forfeiture pursuant to the provisions of 31 U.S.C. §
19   5317(c)(1) and Fed. R. Cr. P. 32.2(b), based upon the plea
20   agreements entered into between plaintiff and defendants Keni
21   Renta and Jauwon Wilder forfeiting to the United States the
22   following property:
23             a)      Approximately $18,655.95 in currency seized from
                       Bank of America business checking account ending
24                     2049,
25             b)      Approximately $5,272.80 in currency seized from
                       Bank of America personal checking account ending
26                     2431,
27             c)      14KW Classic Engagement Ring with 1.5 CTS Princess
                       Diamond (VS-2 Clarity, G Color),
28


                                      1                Final Order of Forfeiture
               Case 2:12-cr-00124-MCE Document 44 Filed 12/27/12 Page 2 of 4


 1                 d)    A money judgment in the amount of $315,000 against
                         Keni Renta,1 and
 2
                   e)    A money judgment in the amount of $61,000
 3                       against Jauwon Wilder.
 4         AND WHEREAS, on or about November 1, 2012, the Court entered
 5   an Order to Apply Funds to Partially Satisfy a Personal Money
 6   Judgment for Keni Renta in the amounts of $13,013.36 and
 7   $17,000.00, for a total of $30,013.36 to partially satisfy the
 8   above-listed money judgment.         The remaining balance of the money
 9   judgment against Keni Renta is $284,986.64.
10         AND WHEREAS, on or about November 1, 2012, the Court entered
11   an Order to Apply Funds to Partially Satisfy a Personal Money
12   Judgment for Jauwon Wilder in the amount of $6,014.82 to
13   partially satisfy the above-listed money judgment.             The remaining
14   balance of the money judgment against Jauwon Wilder is
15   $54,985.18.
16         AND WHEREAS, beginning on June 15, 2012, for at least 30
17   consecutive days, the United States published notice of the
18   Court's Order of Forfeiture on the official internet government
19   forfeiture site www.forfeiture.gov.          Said published notice
20   advised all third parties of their right to petition the Court
21   within sixty (60) days from the first day of publication of the
22   notice for a hearing to adjudicate the validity of their alleged
23   legal interest in the forfeited property;
24   ///
25   ///
26
           1
27          To the extent that the United States realizes any sums
     from the forfeiture of assets specified above, the sum of the
28   money judgments listed in paragraphs 2.d and 2.e shall be reduced
     accordingly.

                                          2                Final Order of Forfeiture
               Case 2:12-cr-00124-MCE Document 44 Filed 12/27/12 Page 3 of 4


 1         AND WHEREAS, the Court has been advised that no third party
 2   has filed a claim to the subject property, and the time for any
 3   person or entity to file a claim has expired.
 4         Accordingly, it is hereby ORDERED and ADJUDGED:
 5         1.    A Final Order of Forfeiture shall be entered forfeiting
 6   to the United States of America all right, title, and interest in
 7   the following property pursuant to 31 U.S.C. § 5317(c)(1) and
 8   Fed. R. Cr. P. 32.2(b), to be disposed of according to law,
 9   including all right, title, and interest of Keni Renta and Jauwon
10   Wilder:
11                 a)    Approximately $18,655.95 in currency seized from
                         Bank of America business checking account ending
12                       2049,
13                 b)    Approximately $5,272.80 in currency seized from
                         Bank of America personal checking account ending
14                       2431,
15                 c)    14KW Classic Engagement Ring with 1.5 CTS Princess
                         Diamond (VS-2 Clarity, G Color),
16
                   d)    A money judgment in the amount of $315,000.00
17                       against Keni Renta,2
18                 e)    A money judgment in the amount of $61.000.00
                         against Jauwon Wilder,
19
                   f)    $13,013.36 seized from Bank of America account in
20                       the name of Serenity Enterprises, LLC,
21                 g)    $17,000.00 seized from Bank of America account in
                         the name of SOG Enterprises, LLC, and
22
                   h)    $6,014.82 seized from Bank of America account in
23                       the name of Jauwon Wilder.
24   ///
25   ///
26
           2
27          To the extent that the United States realizes any sums
     from the forfeiture of assets specified above, the sum of the
28   money judgments listed in paragraphs 2.d and 2.e shall be reduced
     accordingly.

                                          3                Final Order of Forfeiture
           Case 2:12-cr-00124-MCE Document 44 Filed 12/27/12 Page 4 of 4


 1        2.    All right, title, and interest in the above-listed
 2   property shall vest solely in the name of the United States of
 3   America.
 4        3.    The Internal Revenue Service - Criminal Investigation
 5   shall maintain custody of and control over the subject property
 6   until it is disposed of according to law.
 7        IT IS SO ORDERED.
 8
 9   Dated: December 26, 2012

10
                                   _____________________________________
11                                 MORRISON C. ENGLAND, JR., CHIEF JUDGE
12                                 UNITED STATES DISTRICT JUDGE

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      4                Final Order of Forfeiture
